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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


LEROY PERNELL, et al.,

      Plaintiffs,



v.



FLORIDA BOARD OF GOVERNORS OF                    Case No.: 4:22-cv-304-MW-
THE STATE UNIVERSITY SYSTEM, et al.,             MAF

      Defendants.




       PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH
                   PRELIMINARY INJUNCTION

      Plaintiffs LeRoy Pernell, et al., by and through their undersigned counsel,

hereby respectfully move this Court to compel Defendants’ compliance with the

Court’s Order preliminarily enjoining enforcement of the Stop W.O.K.E. Act,

codified in Florida Statutes section 1000.05(4)(a)–(b), and Board of Governors’

Regulation 10.005(2)–(3) and (4)(d) (the “Preliminary Injunction Order”). ECF 63.

The Preliminary Injunction Order expressly states that Defendants “must take no

steps to enforce the [Act and Regulation] until otherwise ordered.” Id. at 136 &

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137. Yet, on December 28, 2022, the State of Florida issued Executive

Memorandum No. 23-021 (the “Executive Memorandum”), which cites the

enjoined Act and requires the collection of information about activities and

programs “related to diversity, equity and inclusion, and critical race theory,”

referring to the preparation of budget proposals and the monitoring of content for

compliance with section 1000.05. See Executive Memorandum No. 23-021,

attached as Ex. 1, Decl. of Sarah Hinger, Ex. A. Defendants’ compliance with the

Executive Memorandum would violate the Preliminary Injunction Order, and

therefore Plaintiffs respectfully request an order compelling Defendants’

compliance with the Preliminary Injunction Order and further clarifying, to the

extent necessary, that the Preliminary Injunction Order enjoins Defendants from

taking any actions pursuant to the Executive Memorandum.


                        MEMORANDUM IN SUPPORT


I.    Procedural History
      In the Preliminary Injunction Order, the Court found Plaintiffs have a strong

likelihood of succeeding on claims that the Stop W.O.K.E. Act 1 discriminates

against disfavored viewpoints, violating both the First Amendment, ECF 63 at 106,

and the Due Process Clause’s prohibition on vagueness, Id. at 108, and observed


1
 Codified in Florida Statutes § 1000.05(4)(a)–(b), and also referred to as the
Individual Freedom Act (“IFA”).
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that the Act “cast[s] a leaden pall of orthodoxy over Florida’s state universities.”

Id. at 106.

      In reaching these conclusions, the Court found that the Stop W.O.K.E. Act’s

“prophylactic ban on university employees’ speech affects potentially thousands of

professors and serves as an ante hoc deterrent that ‘chills potential speech before it

happens.’” Id. at 93 (quoting U.S. v. Nat’l Treas. Emp’s Union, 513 U.S. 454, 468

(1995) (“NTEU”)). Plaintiffs faced a credible threat of enforcement, the Court

found, including through provisions that “[a]ny ‘person aggrieved by a violation . .

. has a right of action for such equitable relief as the court may determine.’” Id. at 5

(quoting § 1000.05(9), Fla. Stat. (2022)). The Court also cited as “significant” the

regulatory command that “‘the university will be ineligible for performance

funding’” in the following fiscal year if it violates the Act. Id. at 57 (quoting

Regulation 10.005(4)(d)). “In short,” the Court reasoned, “the Board of Governors

makes the determination that could lead to withholding performance funding,

which in turn leaves the universities little choice but to ban promotion of the eight

concepts,” threatening Plaintiffs with punishment or the termination of

employment, and chilling their protected speech. Id. at 71.

      The Court preliminarily enjoined enforcement of the Act and the State Board

of Governors’ implementing regulation, Regulation 10.005(2)—(3) and (4)(d). Id.

at 136. In issuing this relief, the Court made clear that “[t]he members of the Board
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of Governors . . . are prohibited from enforcing [the Act and Regulation] against

any state university.” Id. at 130. Further, the Court ordered that Defendants “must

take no steps to enforce the [Act and Regulation] until otherwise ordered,” and

specified that the injunction bars enforcement by Defendants, their agents, and any

“others in active concert or participation with any of them.” Id. at 136; see also

Fed. R. Civ. P. 65(d).

      Within the Novoa v. Diaz case, No. 4:22cv324, the Court additionally held

that “members of the University of South Florida Board of Trustees are prohibited

from enforcing [the Act and Regulation].” ECF 63 at 130. Boards of Trustees for

Universities named by Pernell Plaintiffs were excluded from the preliminary

injunction relief on standing grounds. Id. at 76; see also ECF 64 at 5. Plaintiffs

subsequently filed a First Amended Complaint naming the members of the Boards

of Trustees at the University of Florida, the University of South Florida, Florida

International University, Florida A&M University, Florida State University, and

the University of Central Florida in their official capacities. ECF 76 at ¶¶ 43—48.

II.   Executive Memorandum No. 23-021
      On December 28, 2022, the Office of the Governor issued the Executive

Memorandum to Defendant Commissioner Manny Diaz (Commissioner of the

Department of Education and Member of the Board of Governors) and Chancellor

Ray Rodrigues (Chancellor of the State University System). Ex.1, Hinger Decl.,

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Ex. A. Stating that “state law requires dutiful attention to curriculum content at our

higher education systems as specified in section[] 1000.05 [the Stop W.O.K.E.

Act],” and citing the preparation of legislative “budget proposals,” the Executive

Memorandum requires the Department of Education and each Florida College and

State University system to provide information regarding activities and programs

“related to diversity, equity and inclusion, and critical race theory.” Id.

      Specifically, the Executive Memorandum instructs that each institution of

higher education “must . . . provide a comprehensive list of all staff, programs, and

campus activities,” including descriptions and details regarding “[p]ositions,

including full and partial [full-time equivalent],” and funding spent to support the

program. Id. It instructs Defendant Diaz to aggregate and submit these responses

no later than January 13, 2023. Id. On information and belief, the memo was

subsequently communicated to administrators at Plaintiffs’ respective universities

and to all institutions in the State University System, 2 requesting compliance with

the memorandum and the collection of information.




2
  ABC News reports that “[a] representative from the State University System of
Florida Board of Governors confirmed that all 12 schools in the system received
the memo.” Kiara Alfonseca & Will McDuffie, DeSantis Asks State Colleges for
Data on Critical Race Theory, Diversity Courses amid ‘Stop WOKE’ Legal
Battles, ABC News (Jan. 4, 2023, 3:56 PM),
https://abcnews.go.com/Politics/desantis-asks-state-colleges-data-critical-race-
theory/story?id=96189743.
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       Despite multiple requests from Plaintiffs’ counsel, Defendants’ counsel has

declined to confirm whether Defendants are taking, or plan to take, any actions

pursuant to the Executive Memorandum, but communicated Defendants’ position

that compliance with the Executive Memorandum would not implicate this Court’s

Preliminary Injunction Order. See January 9, 2023 Email from John Ohlendorf,

attached as Ex. 1, Hinger Decl., Ex. B.

III.   Argument

       The purpose behind the Executive Memorandum’s direction to collect

information about instructors’ activities is clearly to enforce the unconstitutional

provisions of the Stop W.O.K.E. Act. The Executive Memorandum references

Florida Statutes section 1000.05 and its provisions governing “curriculum.” See

Ex. 1, Decl. of Sarah Hinger, Ex. A. The subsections of section 1000.05

introduced through the Stop W.O.K.E. Act are the only measures in the law

addressing classroom instruction, or what Defendants contend is curriculum. 3

Further, the Executive Memorandum only seeks information about activities

3
  Florida Statutes section 1000.05(2)(d) references the permissibility of separating
students by sex for “any portion of class that deals with human reproduction,” but
does not regulate the content of this curriculum and is not applicable to higher
education. The only provision of section 1007.25 relevant to “curriculum content”
is the requirement that institutions ensure that students demonstrate civic literacy,
including by offering specific courses on civic literacy, American History, or
American Government.


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related to “critical race theory,” and “diversity, equity, and inclusion,” viewpoints

targeted by the Stop W.O.K.E. Act. 4 The Executive Memorandum additionally

indicates that the information will be used in the budget process. The potential to

withhold institutional funding is a principal mechanism for inducing compliance

with the State’s preferred orthodoxy of viewpoints in the classroom. As the Court

noted, the implications of this provision are “significant,” making enforcement

against individual instructors increasingly likely, and in turn chilling speech. ECF

63 at 57, 71.

      By its express terms, the Executive Memorandum’s effort to collect

information on instructors’ programs is undertaken pursuant to the Stop W.O.K.E.

Act, which this Court has already held that Plaintiffs are likely to prove

unconstitutionally discriminates on the basis of viewpoint, contains vague

requirements, and impermissibly chills instructors’ free speech and the rights of

students to receive information, thereby interfering with academic freedom.




4
  ECF 76 at 7 (citing 2/1/22 House State Affairs Committee at 01:02:00–
01:02:29.070,
(Feb. 1, 2022), https://thefloridachannel.org/videos/2-1-22-house-state-affairs-
committee; Press Release, Gov. Ron DeSantis, Gov. DeSantis Announces
Legislative
Proposal to Stop W.O.K.E. Activism and Critical Race Theory in Schools and
Corporations (Dec. 15, 2021), https://www.flgov.com/2021/12/15/governor-
desantis-announces-legislative-proposal-to-stop-w-o-k-e-activism-and-critical-
race-theory-in-schools-and-corporations).
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Compiling information about activities in a central list held by the State could only

further the chill engendered by the Stop W.O.K.E. Act that the Court sought to

remedy through the Preliminary Injunction Order. Instructors are already

experiencing chill from the Executive Memorandum and bracing for further action

to enforce the Stop W.OK.E. Act through the compiling of information. For

example, the vice president of the University of Florida’s United Faculty of Florida

chapter expressed fear that the compiling of information on activities could be a

“direct attempt at smothering academic freedom via state purse-strings.”5 The

Executive Memorandum itself alludes to impending consequences through the

elimination of funds, echoing penalties under the Stop W.O.K.E. Act.

      Even if the withholding of funds were not ultimately to occur, the State’s

action nonetheless constitutes a First Amendment injury. It is well recognized that

“informal sanctions,” such as “the threat of invoking legal sanctions and other


5
  Kathryn Varn, DeSantis Wants to Know How Much Florida Colleges Spend on
‘Trendy Ideology,’ Tallahassee Democrat (Jan. 4, 2023, 5:35 PM),
https://www.tallahassee.com/story/news/politics/2023/01/04/desantis-scrutinizes-
florida-university-college-diversity-program-funds/69778762007/; see also id.
(recounting professor’s understanding that the Executive Memorandum seeks
information addressed by the Stop W.O.K.E. Act); Ryan Dailey, DeSantis
Requests Diversity and Equity Info from Florida Colleges and Universities (Jan. 5,
2023, 2:26 PM), https://news.wgcu.org/government-politics/2023-01-05/desantis-
requests-diversity-and-equity-info-from-florida-colleges-and-universities
(recounting United Faculty of Florida president’s concerns with the Executive
Memorandum’s attempt “to chill speech and to intimidate those [the Governor]
disagrees with into remaining silent.”).
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means of coercion, persuasion, and intimidation,” can violate the First

Amendment. Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963) (recognizing

that courts “look through forms to the substance” to identify First Amendment

violations); see also Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1122 (11th

Cir. 2022) (“[A] government actor can objectively chill speech—through its

implementation of a policy—even without formally sanctioning it.”); Okwedy v.

Molinari, 333 F.3d 339, 343 (2d Cir. 2003) (per curiam) (“[A] defendant without .

. . direct regulatory or decisionmaking authority can also exert an impermissible

type or degree of pressure.”); White v. Lee, 227 F.3d 1214, 1228 (9th Cir. 2000)

(agency investigation “unquestionably chilled” First Amendment rights even

where agency “did not ban or seize the plaintiffs’ materials” and officials

“ultimately decided not to pursue either criminal or civil sanctions”).

       Despite this Court’s order that Defendants “take no steps” to enforce the

Act, including in “concert or participation” with others, ECF 63 at 136, see also

Fed. R. Civ. P. 65(d), Defendants have not provided Plaintiffs’ counsel with

affirmative assurance of whether the information requested in the Executive

Memorandum will be collected or used, let alone how. As reported by the press,

Governor DeSantis’s office has responded to similar requests for clarification with




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the additionally vague and threatening response “stay tuned.” 6 As this Court has

held, the Stop W.OK.E. Act has already produced a chill on Plaintiffs’

constitutionally protected speech.

        The specter of punishment and the chill to free speech are furthered by the

Executive Memorandum and by the actions of Defendants to gather and transmit

information. That the Executive Memorandum originated within the Office of the

Governor does not diminish the role of Defendants in this case in furthering

enforcement of the Act and their obligation to comply with the Preliminary

Injunction Order. Cf. F.T.C. v. Leshin, 618 F.3d 1221, 1235 (11th Cir. 2010)

(“[D]efendants may not nullify [a decree] by carrying out prohibited acts through

aiders and abettors, although they were not parties to the original proceeding.”)

(internal quotation marks omitted). Nor does the First Amendment violation

incurred turn on the ultimate decision to pursue a particular enforcement measure.

IV.     Conclusion

        The Executive Memorandum is a further step in enforcing the enjoined Act,

in direct violation of the Preliminary Injunction Order. Plaintiffs respectfully

request that this Court compel Defendants’ compliance with its Preliminary




6
    Alfonseca & McDuffie, supra note 2.
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Injunction Order, including to the extent necessary, clarifying that the Order

enjoins actions taken pursuant to the Executive Memorandum.

Dated: January 11, 2023


Respectfully submitted,


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                          CERTIFICATE OF COMPLIANCE



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Defendants more than 24 hours before filing as required by Local Rule 7.1(B).



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